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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



 KRISTIN GARZA, an individual, ALEXANDRA                CIVIL ACTION
 LINCOLN, an individual, SARAH JOHNSON,
 an individual, and LAUREN GRIMES, an
 individual,                                            Case No. 2:20-cv-049

                                                        Judge:
                        Plaintiff,
                                                        Mag. Judge:
 v.

 GUICHARD ST. SURIN, an individual, and
 THE GUARDIAN LAW FIRM, P.A., a Florida
 professional association,

                        Defendants.



                     COMPLAINT AND DEMAND FOR JURY TRIAL

       NOW COME the Plaintiffs, KRISTIN GARZA (“GARZA”), ALEXANDRA

LINCOLN (“LINCOLN”), SARAH JOHNSON (“JOHNSON”), and LAUREN GRIMES

(“GRIMES”)(collectively “Plaintiffs”), by and through undersigned counsel, and state the

following for their Complaint:

                                      CAUSES OF ACTION

       1.      This is an action brought under the federal Fair Labor Standards Act ("FLSA") and

Florida common law for (1) unpaid wages and overtime in violation of the FLSA, (2) assault, (3)

battery, (4) intentional infliction of emotional distress, (5) negligent infliction of emotional

distress, and (6) forcible confinement.




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                                            PARTIES

        2.      Plaintiff GARZA is an individual and a resident of Florida who currently resides

in Lee County, Florida, and who performed services for the Defendants in Lee County, Florida.

At all times, GARZA had individual coverage under the FLSA during her employment with the

Defendants. GARZA was employed as a legal assistant and was responsible for being a primary

contact between the Defendants and clients from outside the State of Florida. The Defendants

further were engaged in interstate commerce because, at all material times, they had gross income

in excess of $500,000 per year, had clients located in different states, engaged in interstate travel

in connection with the representation, performed legal work involves claims under federal law,

and used out-of-state products in connection with the representation. GARZA also assisted in the

unloading of goods moved in interstate commerce and further engaged in interstate commerce by

sending and receiving interstate mail, electronic mail, facsimiles and telephone calls. GARZA also

received and made payments to/from out of state financial institutions. Most, if not all, of the raw

materials the Defendants utilized originated from outside the State of Florida. GARZA performed

work for the Defendants in Lee County, Florida, which is within the Middle District of Florida,

during the events giving rise to this case. GARZA was an employee within the contemplation of

29 U.S.C. 203(e)(1). Thus, pursuant to 28 U.S.C. 1391(b), venue for this action lies in the Middle

District of Florida.

        3.      Plaintiff LINCOLN is an individual and a resident of Florida who currently resides

in Lee County, Florida, and who performed services for the Defendants in Lee County, Florida.

At all times, LINCOLN had individual coverage under the FLSA during her employment with

the Defendants. LINCOLN was employed as a legal assistant and was responsible for being a

primary contact between the Defendants and clients from outside the State of Florida. The



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Defendants further were engaged in interstate commerce because, at all material times, they had

gross income in excess of $500,000 per year, had clients located in different states, engaged in

interstate travel in connection with the representation, performed legal work involves claims under

federal law, and used out-of-state products in connection with the representation. LINCOLN also

assisted in the unloading of goods moved in interstate commerce and further engaged in interstate

commerce by sending and receiving interstate mail, electronic mail, facsimiles and telephone calls.

LINCOLN also received and made payments to/from out of state financial institutions. Most, if

not all, of the raw materials the Defendants utilized originated from outside the State of Florida.

LINCOLN performed work for the Defendants in Lee County, Florida, which is within the Middle

District of Florida, during the events giving rise to this case. LINCOLN was an employee within

the contemplation of 29 U.S.C. 203(e)(1). Thus, pursuant to 28 U.S.C. 1391(b), venue for this

action lies in the Middle District of Florida.

       4.      Plaintiff JOHNSON is an individual and a resident of Florida who currently resides

in Lee County, Florida, and who performed services for the Defendants in Lee County, Florida.

At all times, JOHNSON had individual coverage under the FLSA during her employment with

the Defendants. JOHNSON was employed as a legal assistant and was responsible for being a

primary contact between the Defendants and clients from outside the State of Florida. The

Defendants further were engaged in interstate commerce because, at all material times, they had

gross income in excess of $500,000 per year, had clients located in different states, engaged in

interstate travel in connection with the representation, performed legal work involves claims under

federal law, and used out-of-state products in connection with the representation. JOHNSON also

assisted in the unloading of goods moved in interstate commerce and further engaged in interstate

commerce by sending and receiving interstate mail, electronic mail, facsimiles and telephone calls.



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JOHNSON also received and made payments to/from out of state financial institutions. Most, if

not all, of the raw materials the Defendants utilized originated from outside the State of Florida.

JOHNSON performed work for the Defendants in Lee County, Florida, which is within the

Middle District of Florida, during the events giving rise to this case. JOHNSON was an employee

within the contemplation of 29 U.S.C. 203(e)(1). Thus, pursuant to 28 U.S.C. 1391(b), venue for

this action lies in the Middle District of Florida.

       5.      Plaintiff GRIMES is an individual and a resident of Florida who currently resides

in Lee County, Florida, and who performed services for the Defendants in Lee County, Florida.

At all times, GRIMES had individual coverage under the FLSA during her employment with the

Defendants. GRIMES was employed as a legal assistant and was responsible for being a primary

contact between the Defendants and clients from outside the State of Florida. The Defendants

further were engaged in interstate commerce because, at all material times, they had gross income

in excess of $500,000 per year, had clients located in different states, engaged in interstate travel

in connection with the representation, performed legal work involves claims under federal law,

and used out-of-state products in connection with the representation. GRIMES also assisted in the

unloading of goods moved in interstate commerce and further engaged in interstate commerce by

sending and receiving interstate mail, electronic mail, facsimiles and telephone calls. GRIMES

also received and made payments to/from out of state financial institutions. Most, if not all, of the

raw materials the Defendants utilized originated from outside the State of Florida. GRIMES

performed work for the Defendants in Lee County, Florida, which is within the Middle District of

Florida, during the events giving rise to this case. GRIMES was an employee within the

contemplation of 29 U.S.C. 203(e)(1). Thus, pursuant to 28 U.S.C. 1391(b), venue for this action

lies in the Middle District of Florida.



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       6.      Defendant, THE GUARDIAN FIRM, P.A. (“GUARDIAN”), is a Florida

professional association and is a covered employer under the FLSA (29 U.S.C. §203(d), (r) and

(s)). At all material times, GUARDIAN, which is located in Fort Myers, Florida, employed the

Plaintiffs. GUARDIAN has gross sales well in excess of $500,000.00 per year and is thus engaged

in interstate commerce. GUARDIAN has the sole authority to hire, fire and discipline employees,

including the Plaintiffs, and it supervises and controls the employees' work schedule and

conditions of employment, it determines their rate and method of payment for the employees and

it maintains employment records of the employees.

       7.      Defendant, GUICHARD ST. SURIN (“ST. SURIN”) is an individual who resides

in Fort Myers, Florida with his wife. At all material times, ST. SURIN has been the managing

member of Defendant GUARDIAN, and exercised complete control over its operations. ST.

SURIN has a significant ownership interest in the corporation, had personal responsibility for the

decisions that led to the conduct which violated the FLSA, supervised and controlled employee

work schedules and conditions of employment, maintained employment records, and had control

of significant aspects of the corporation’s day-to-day operations, including the compensation of

employees. ST. SURIN is a covered employer under the FLSA (29 U.S.C. §203(d), (r) and (s)).

ST. SURIN has the authority to hire, fire, assign work, withhold work and affect the terms and

conditions of persons like the Plaintiffs. ST. SURIN thus bears individual liability for the FLSA

violations committed against the Plaintiffs.

                                JURISDICTION AND VENUE

       8.      This Court has jurisdiction of this matter under 28 U.S.C. §1331.

       9.      This Court has supplemental jurisdiction over the Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367.



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        10.    Venue is proper in the United States District Court for the Middle District of Florida

because the Plaintiffs reside in, and the Defendants’ conduct business in, and some or all of the

events giving rise to Plaintiffs’ claims occurred in Lee County, Florida, which is within the Middle

District of Florida. Venue is proper in the Fort Myers Division under Local Rule 1.02(b)(5) since

Lee County is within the Fort Myers Division.

                                  GENERAL ALLEGATIONS

        11.    All of the Plaintiffs were formerly employed by the Defendants as legal assistants.

        12.    GARZA was employed by the Defendants from July 27, 2016 to July 24, 2017.

        13.    LINCOLN was employed by the Defendants from June 2016 to December 19,

2017.

        14.    JOHNSON was employed by the Defendants from January 2, 2018 to February

16, 2018.

        15.    GRIMES was employed by the Defendants from March 1, 2018 to April 23, 2018.

        16.    At all material times, the Plaintiffs well qualified for their position with the

Defendants.

        17.    The Plaintiffs performed their duties well and in a professional manner.

        Violations of the FLSA

        18.    All of the Plaintiffs were compensated on an hourly basis.

        19.    All of the Plaintiffs were scheduled to work from 8:30am to 5:00pm, but frequently

were required to work in excess of those hours.

        20.    All of the Plaintiffs worked in excess of 40 hours in many weeks but the Defendants

refused to pay the Plaintiffs their lawful overtime.




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        21.     Defendants have willfully engaged in a pattern and practice of unlawful conduct by

failing to record, credit, or compensate their employees, including the Plaintiffs, for all of the time

Defendants required or permitted such employees to perform work for the benefit of Defendants.

        22.     Defendants have denied the Plaintiffs’ lawful compensation for dozens, if not

hundreds, of hours.

        23.     Defendants’ practices are in direct violation of the FLSA, 29 U.S.C. 201 et. seq.,

and the Plaintiffs seeks injunctive and declaratory relief, compensation, and credit for all

unrecorded and uncompensated work required or permitted by Defendants, liquidated and/or other

damages as permitted by applicable law, and attorneys' fees and costs.

        St. Surin’s Sexual Assaults & Batteries of Plaintiffs

        24.     Upon hiring each of the Plaintiffs, ST. SURIN required them to submit to a

personality test.

        25.     All Plaintiffs are female, were not wealthy and were in need of a job, a fact ST.

SURIN knew about each.

        26.     ST. SURIN only hires female employees.

        27.     Immediately upon beginning their employment with the Defendants, each Plaintiff

independently began being subjected to gross and continuing sexual harassment by ST. SURIN.

        28.     ST. SURIN made frequent attempts to initiate a sexual relationship with each

Plaintiff and made comments of a highly sexual nature that were inappropriate for the workplace.

        29.     The Plaintiffs also regularly observed ST. SURIN masturbating while watching

pornography at his desk with his office door wide open for the female staff to see.




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          30.   The Plaintiffs also observed that ST. SURIN preyed on his female clients that could

not afford an attorney by requiring them to submit to oral sex or sexual intercourse in lieu of paying

attorney’s fees.

          31.   As a result of ST. SURIN’s actions described herein, the liability for which also

extends to GUARDIAN under respondeat superior since ST. SURIN’s actions were within the

scope of his employment, all of the Plaintiffs have suffered great mental anguish.

                A. Garza.

          32.   At all material times, GARZA was happily married and is a mother to five children.

          33.   Shortly after GARZA began her employment, ST. SURIN began sending her

sexually explicit text messages and further tried to initiate a sexual relationship with her.

          34.   After GARZA rejected his advances, ST. SURIN’s sexual harassment worsened.

          35.   On one occasion, ST. SURIN approached GARZA while she was seated at her

desk. He then pulled out his penis and started masturbating, before asking GARZA to “help [him]

out.” GARZA immediately said no, but ST. SURIN then grabbed her and tried to kiss her, all the

while with his penis hanging out of his pants. GARZA was finally able to get free of ST. SURIN’s

grasp and fled to the office bathroom.

          36.   ST. SURIN later apologized to GARZA and said he “let [his] lust get the best of

[him].”

          37.   ST. SURIN did not stop his advances and continued his conduct, including

frequently groping GARZA’s breasts and buttocks in the office.

          38.   Shortly thereafter, ST. SURIN attempted to use his position of authority to get

GARZA and LINCOLN to submit to a threesome with him. He did this in writing in the form of




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text messages. After each rejected his advances, ST. SURIN arrived at the office with a bottle of

liquor and further pressured each to submit to a threesome. Frightened, GARZA left.

       39.     On another occasion, ST. SURIN further attempted to use his position of authority

to convince GARZA and LINCOLN to attend an overnight conference with him in Orlando,

Florida. GARZA refused to go, but LINCOLN, desperate for the job and income, did go and was

ultimately raped by ST. SURIN.

       40.     ST. SURIN also tried to peep and watch GARZA utilize her breast pump, which

caused GARZA to flee to her car to express breast milk.

       41.     One day, in June 2017, ST. SURIN summoned GARZA to his office. After

GARZA entered his office, ST. SURIN forcibly grabbed her, pinned her to his desk, pulled her

pants and panties down and digitally penetrated her vaginally. During the attack, he had his penis

in his other hand and was masturbating. Throughout the attack, GARZA was crying and pleading

with ST. SURIN to stop. ST. SURIN refused and ultimately ejaculated on GARZA, who left in

tears and in physical pain.

       42.     Shortly thereafter, as a means to coerce sexual activity from GARZA, ST. SURIN

gave GARZA an advance on her paycheck (which advance GARZA did not ask for). ST. SURIN

informed GARZA that it could be thought of as a loan and that she could “pay it off in blowjobs.”

       43.     Unable to tolerate the sexual assaults, batteries and harassment any longer,

GARZA resigned on July 24, 2017.

               B. Lincoln.

       44.     Shortly after LINCOLN began her employment, ST. SURIN also began sending

her sexually explicit text messages and further tried to initiate a sexual relationship with her.




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       45.     After LINCOLN rejected his advances, ST. SURIN’s sexual harassment

worsened.

       46.     On one occasion, ST. SURIN showed LINCOLN a gun he kept in his office while

making clear to LINCOLN that it was in her best interest to have sexual relations with him.

       47.     On a somewhat regular basis, ST. SURIN physically forced LINCOLN to perform

oral sex on him at the office.

       48.     ST. SURIN would frequently approach LINCOLN while she was seated at her

desk and tell her to come to his office because he “needed a release,” which was code for her to

perform oral sex on him until he ejaculated. ST. SURIN even referred this this as “our Monday

thing.” On the occasions where LINCOLN refused, ST. SURIN used his position of authority to

make LINCOLN’s working conditions far worse.

       49.     ST. SURIN regularly groped LINCOLN’s breasts and buttocks in the office.

       50.     LINCOLN would object to ST. SURIN’s behavior but to no avail.

       51.     Shortly thereafter, ST. SURIN attempted to use his position of authority to get

GARZA and LINCOLN to submit to a threesome with him. He did this in writing in the form of

text messages. After each rejected his advances, ST. SURIN arrived at the office with a bottle of

liquor and further pressured each to submit to a threesome. Frightened, GARZA left.

       52.     On another occasion, ST. SURIN further attempted to use his position of authority

to convince GARZA and LINCOLN to attend an overnight conference with him in Orlando,

Florida in January 2017. GARZA refused to go, but LINCOLN, desperate for the job and income,

did go and was ultimately raped by ST. SURIN in the hotel room

       53.     In April 2017, ST. SURIN summoned LINCOLN to his office. Upon entering, ST.

SURIN grabbed LINCOLN, forced her down on the edge of the sofa, forcibly lifted her dress up



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and raped her, which resulted in vaginal bleeding. LINCOLN left his office in tears after the

attack, which caused both physical and mental injuries.

       54.     Unable to tolerate the sexual assaults, batteries and harassment any longer,

LINCOLN resigned in December 2017.

               C. Johnson.

       55.     Shortly after JOHNSON began her employment, ST. SURIN also began sending

her sexually explicit text messages and further tried to initiate a sexual relationship with her.

       56.     After JOHNSON rejected his advances, ST. SURIN’s sexual harassment

worsened.

       57.     ST. SURIN would whisper to JOHNSON (and GARZA) “I want to fuck your

brains out,” “I couldn’t sleep last night because I was looking at your FaceBook photos,” and

“what position do you like to get fucked in?” ST. SURIN would also constantly approach

JOHNSON saying he “needed a release,” which was to say he needed to ejaculate, while also

telling JOHNSON that it did not matter he was married and had children. ST. SURIN would also

call and text JOHNSON late at night and then tell her that sex with him would be so good that she

would forget all about her boyfriend.

       58.     Knowing JOHNSON was quite religious, ST. SURIN would offer to “pray” with

her, which occasions he would use to be alone with her and attempt to force unwelcome intimate

physical contact. On several occasions, ST. SURIN would grab JOHNSON and pull her onto his

lap where JOHNSON could feel his erect penis. When JOHNSON tried to escape, ST. SURIN

locked his office door and refuse to let JOHNSON leave. On another occasion, ST. SURIN locked

her in his office for an extended period of time and refused to let her leave unless she acquiesced

to his sexual demands. When JOHNSON refused and was still locked in the office, ST. SURIN



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then threatened to bring legal action against JOHNSON’s boyfriend unless JOHNSON

capitulated to his demands.

        59.     Unable to tolerate the sexual assaults, batteries and harassment any longer,

JOHNSON resigned under duress on February 16, 2018. While writing her resignation letter while

still locked in an office, ST. SURIN stood over JOHNSON to ensure the letter was “suitable.”

                D. Grimes.

        60.     Shortly after GRIMES began her employment, ST. SURIN also began calling her

after hours, telling her sexually explicit details of his sex life, as well as inquiring about her sexual

history and further tried to initiate a sexual relationship with her.

        61.     After GRIMES rejected his advances, ST. SURIN’s sexual harassment worsened.

        62.     ST. SURIN would frequently tell GRIMES (and GARZA) that he had a sex

addiction. He would ask GRIMES about her sex life, including asking her if she had ever had sex

with a black man (ST. SURIN is black) and telling her she “has a great ass” because she “got

fucked by [her] black boyfriend.” ST. SURIN also demanded she wear more revealing clothing at

work.

        63.     ST. SURIN would also frequently make unwanted physical contact with GRIMES

in the form of prolonged hugging, which made GRIMES very uncomfortable but ST. SURIN

often refused to release his grasp.

        64.     Unable to tolerate the sexual assaults, batteries and harassment any longer, and after

learning of the sexual assaults and batteries ST. SURIN committed against other female staff,

GRIMES resigned on April 23, 2018.

        65.     The Defendants are liable for assault, battery, intentional infliction of emotional

distress, negligent infliction of emotional distress and forcible confinement, and the Plaintiffs have



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suffered the following compensatory damages because of the actions of the Defendants: GARZA

($1,500,000.00), LINCOLN ($2,500,000.00), JOHNSON ($500,000.00) and GRIMES

($350,000.00).

                 COUNT I: VIOLATION OF THE FLSA- ALL PLAINTIFFS

        66.      The Plaintiffs hereby incorporate Paragraphs 1-8 and 10-23 in this Count as though

fully set forth herein.

        67.      The Plaintiffs were all covered, non-exempt employees under the FLSA at all times

during their employment with the Defendants.

        68.      The Defendants were required by the FLSA to pay the Plaintiffs at least time and

one-half for all hours worked in excess of 40 hours in a week.

        69.      The Defendants had operational control over all aspects of the Plaintiffs’ day-to-

day functions during their employment, including compensation.

        70.      The Defendants were Plaintiffs’ employer and are liable for violations of the FLSA

in this case.

        71.      The Defendants violated the FLSA by failing to pay the Plaintiffs at least time and

one-half for all hours worked over 40 in a week.

        72.      The Defendants have willfully violated the FLSA in refusing to pay the Plaintiffs’

proper overtime for all hours worked by them over 40 in a week.

        73.      As a result of the foregoing, the Plaintiffs have suffered damages of lost wages.

        74.      The Defendants are the proximate cause of the Plaintiffs’ damages.

    WHEREFORE, Plaintiffs pray that this Honorable Court enter a Judgment in their favor and

against the Defendants for an amount consistent with evidence, together with liquidated damages,

the costs of litigation, interest, and reasonable attorneys’ fees.



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                           COUNT II- ASSAULT- ALL PLAINTIFFS

          75.    Plaintiffs incorporate by reference Paragraphs 1-7, 9-17 and 24-65 of this

Complaint as though fully set forth below.

          76.    During the course of the Plaintiffs’ employment with GUARDIAN, ST. SURIN,

on several occasions, subjected each of the Plaintiffs to intentional, unlawful offers of corporeal

injury to the Plaintiffs by force.

          77.    ST. SURIN further caused force to be unlawfully directed toward the person of

each of the Plaintiffs, thereby creating the Plaintiffs’ well-founded fear of imminent peril.

          78.    Each of the Plaintiffs feared imminent peril.

          79.    ST. SURIN possessed the apparent present ability to effectuate the attempt upon

each of the Plaintiffs.

          80. At no time was ST. SURIN acting in self-defense.

          81. ST. SURIN and GUARDIAN are the proximate cause of the Plaintiffs’ damages.

    WHEREFORE, Plaintiffs respectfully demand that this Honorable Court enter its judgment

in favor of Plaintiffs and against Defendants in the amounts identified in ¶65, together with the

costs of this litigation, interest, reasonable attorney’s fees, and all other relief as this Court deems

proper.

                          COUNT III- BATTERY- ALL PLAINTIFFS

          82.    Plaintiffs incorporate by reference Paragraphs 1-7, 9-17 and 24-65 of this

Complaint as though fully set forth below.

          83.    During the course of Plaintiffs’ employment with GUARDIAN, ST. SURIN, on

several occasions, caused a harmful or offensive contact to the Plaintiffs by unlawful touching and

striking.



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          84.   ST. SURIN intended to cause such contact and acted with reckless disregard of the

consequences of his acts.

          85.   ST. SURIN had no justification for subjecting the Plaintiffs to harmful and

offensive contact.

          86.   ST. SURIN was not acting in self-defense.

          87.   ST. SURIN is the proximate cause of the Plaintiffs’ damages.

   WHEREFORE, Plaintiffs respectfully demand that this Honorable Court enter its judgment

in favor of Plaintiffs and against Defendants in the amounts identified in ¶65, together with the

costs of this litigation, interest, reasonable attorney’s fees, and all other relief as this Court deems

proper.

   COUNT IV- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS- GARZA,
                         LINCOLN & JOHNSON

          88.   Plaintiffs incorporate by reference Paragraphs 1-7, 9-17, 24-59, 62 and 65 of this

Complaint as though fully set forth below.

          89.   ST. SURIN did by extreme and outrageous conduct intentionally or recklessly

causes severe emotional distress to GARZA, LINCOLN and JOHNSON.

          90.   ST. SURIN intentionally and/or recklessly inflicted emotional distress on

GARZA, LINCOLN and JOHNSON by sexually assaulting, sexually battering and sexually

harassing them.

          91.   ST. SURIN is subject to liability for such emotional distress.

          92.   ST. SURIN is the proximate cause of GARZA’s, LINCOLN’s and JOHNSON’s

damages.

   WHEREFORE, Plaintiffs GARZA, LINCOLN and JOHNSON respectfully demand that

this Honorable Court enter its judgment in favor of Plaintiffs GARZA, LINCOLN and

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JOHNSON and against Defendants in the amounts identified in ¶65, together with the costs of

this litigation, interest, reasonable attorney’s fees, and all other relief as this Court deems proper.

       COUNT V- NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS- ALL
                              PLAINTIFFS

          93.    Plaintiffs incorporate by reference Paragraphs 1-7, 9-17, 24-59, 62 and 65 of this

Complaint as though fully set forth below.

          94.    ST. SURIN did by extreme and outrageous conduct negligently cause severe

emotional distress to the Plaintiffs.

          95.    ST. SURIN negligently inflicted emotional distress on the Plaintiffs by sexually

assaulting, sexually battering and sexually harassing them.

          96.    ST. SURIN is subject to liability for such emotional distress.

          97.    ST. SURIN is the proximate cause of Plaintiffs’ damages.

   WHEREFORE, Plaintiffs respectfully demand that this Honorable Court enter its judgment

in favor of Plaintiffs and against Defendants in the amounts identified in ¶65, together with the

costs of this litigation, interest, reasonable attorney’s fees, and all other relief as this Court deems

proper.

          COUNT VI- FALSE IMPRISONMENT- GARZA, LINCOLN & JOHNSON

          98.    Plaintiffs incorporate by reference Paragraphs 1-7, 9-17, 24-59 and 65 of this

Complaint as though fully set forth below.

          99.    ST. SURIN did intend to confine GARZA, LINCOLN and JOHNSON.

          100.   ST. SURIN committed multiple acts of confinement on GARZA, LINCOLN and

JOHNSON.

          101.   ST. SURIN did cause the unlawful detention and deprivation of liberty of GARZA,

LINCOLN and JOHNSON against their will.

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        102.    ST. SURIN did so without legal authority or color of authority.

        103.    GARZA, LINCOLN and JOHNSON were all aware of their respective

confinement.

        104.    ST. SURIN actively participated in the restraint of GARZA, LINCOLN and

JOHNSON and such restraint was unreasonable and unwarranted under the circumstances.

        105.    ST. SURIN is subject to liability for such unlawful detention.

        106.    ST. SURIN is the proximate cause of GARZA’s, LINCOLN’s and JOHNSON’s

damages.

    WHEREFORE, Plaintiffs GARZA, LINCOLN, JOHNSON and GRIMES respectfully

demand that this Honorable Court enter its judgment in favor of Plaintiffs GARZA, LINCOLN,

JOHNSON and GRIMES and against Defendants in the amounts identified in ¶65, together with

the costs of this litigation, interest, reasonable attorney’s fees, and all other relief as this Court

deems proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b) and the Seventh Amendment to the United States, the

Plaintiff demands a trial by jury as to all issues triable as of right.


                                        Respectfully submitted,


Dated: January 22, 2020                 /s/ Benjamin H. Yormak
                                        Benjamin H. Yormak
                                        Florida Bar Number 71272
                                        Trial Counsel for Plaintiffs
                                        YORMAK EMPLOYMENT &DISABILITY LAW
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                                        Fax: (239) 288-2534
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